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APR 02 2019

THE UNlrEl) STATES nlsTRlcT CoURT CLEH wyman
FoR THE DISTRICT oF MARYLAND BY ms‘§hi’¢°r'§"§’li,§'§¥&?¢%m

IN THE MATTER OF 'I`HE SEARCH:

19-0910“mm

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)
Black 2019 Volvo_SUV bearing Maryland ) .
License Plate Number 6DG2921 )

AFFIDAVIT IN SUPPORT OF SEARCH AND SEIZURE WARRANT
I, James D. Norton, a Task Force Officer with the Drug Enforcement Adrninistration (the
“DEA”), being duly sworn, depose and state that:

t 1. Your Afflant makes this Affidavit in support of an application under Federal Rule
of Criminal Procedure 41 for a warrant, authorizing the search the black 2019 Volvo SUV bearing
Maryland license plate number 6DG2921 registered to PV Holding Corporation located at 7432
New Ridge Road, Hanover, Maryland 21076, as fully described in Attachment A (hereinafter
referred to as the “SUBJECT VEHICLE”), for the items specified in Attachment B and the
seizure of those items.

2. Your Affiant submits that probable cause exists to believe that Watson Patrick
Bruce (“BRUCE”) has used the SUBJECT VEHICLE to facilitate drug trafficking crimes in
violation of 21 U.S.C. §§ 84l(a)(l), 843(b) and 846; and (2) the SUBJECT VEHICLE contains
evidence, fruits, and instrumentalities of drug trafficking activities.
Affiant’s Background
3. Your Affiant is an investigative or law enforcement officer of the United States-
Within the meaning of 18 U.S.C-. § 2510(7)_that is, an officer of the United States Who is

empowered by law to conduct investigations of, and make arrests for, offenses enumerated in 18

U.S.C. §2516.

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Case 1:19-mj-00910-ADC Document 3 Filed 04/02/19 Page 2 of 14

4. Since November 20]3, your Affiant has been a Task Force Officer with the DEA,
assigned to the DEA l-Iigh Intensity Drug Trafficking Areas Group 43. Your Affiant also works
at the Calvert County (Maryland) Sheriff’ s Office (“CCSO”) Drug Enforcement Unit (“DEU”)
for over ten years, rising to the level of Detective over five years ago.

5. As a DEA Task Force Officer, your Affiant has participated in numerous drug
investigations, several of which were Organized Crime Drug Enforcement Task Force
investigations During these investigations, your Affiant has performed duties associated with
electronic surveillance including, but not limited to, serving as the lead case agent, monitoring
consensual telephone calls, conducting physical and pole camera surveillance, listened to
hundreds of court-authorized intercepted calls between individuals involved or suspected to be
involved in drug trafficking activities, reviewing court-authorized intercepted text messages,
interpreting the court-authorized intercepted calls and texts, and transcribing those calls. In
addition, your Affiant has worked directly with confidential sources and informants to conduct
controlled drug purchases; has debriefed them; and has interviewed drug dealers and users about
their lifestyle, appearance, and habits Moreover, your Affiant has applied for search warrants,
arrest warrants, and Title lIl wire intercepts; executed search warrants; and seized evidence
related to drug trafficking, including substantial quantities of narcotics and drug paraphernalia

6. As a Detective with the CCSO DEU, your Af`fiant has investigated narcotics
trafficking, firearms trafficking, and overdose related deaths. During those investigations, your
Affiant has served as an affiant of search warrants and for which their execution led to the seizure

7 of firearms, narcotics, drug paraphernalia, and documents relating to the distribution of narcotics

as Well has arrested those who violated state gun and drug laws and the state of Maryland

successfully prosecuted

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Case 1:19-mj-00910-ADC Document 3 Filed 04/02/19 Page 3 of 14

7. Your Affiant also received specialized training in drug importation, manufacture,
concealment, and distribution; drug recognition and interdiction', crime scene investigations;
evidence collection; gang investigations; interviews and interrogation', and cellular telephone
forensics and analysis Your Affiant earned an Associate in Arts in Criminal Justice from the
College of Southem Maryland in La Plata, Maryland.

8. Based on your Affiant’s training, knowledge, and experience, your Affiant has
become familiar with the following: (l) the manner in which drug traffickers (a) transport, store,
and distribute drugs as Well as (b) collect, keep, and conceal the proceeds of their illegal activities;
and (2) the ways in which drug traffickers use cellular telephones, cellular telephone technology,
coded communications or slang during conversations and other means to facilitate their illegal
activities and thwart law enforcement investigations

9. Specifically, based on your Affiant’s training, knowledge, and experience, your
Affiant learned that persons involved in illegal drug distribution commonly do the following:

a. Maintain a supply of illegal drugs, items used in the manufacturing,
packaging, and transportation of illegal drugs, packing materials, scales,
other drug paraphernalia, and owe sheets in their residences and vehicles

b. Conceal contraband related to such illicit activities-hsuch as scales, razors,
packaging materials, cutting agents, cooking utensils, microwave ovens,
pots, dishes, and other containers-in locations where they can readily
access them, such as their residences their vehicles, the residences of their
friends family members, and associates, or their drug distribution locations,
such as a stash house or a safe house.

c. Maintain keys to safe deposit box, books, records, receipts, notes, ledgers,
bank records, money orders, and other papers relating to the importation,
manufacture, transportation, ordering, sale, and distribution of illegal
controlled substances Dealers in illegal controlled substances maintain the
aforementioned enumerated items where they have ready access to them,
such as in secured locations within their residence, the residences of their
friends, family members, and associates, or their drug distribution locations

Moreover, drug traffickers commonly maintain such items on cellular
telephones computers, computer diskettes, optical disks, thumb drives,

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Case 1:19-mj-00910-ADC Document 3 Filed 04/02/19 Page 4 of 14

laptop computers personal tablets and other personal electronic devices

d. Conceal in their vehicles their residences or the residences of their friends
family members and associates their drug distribution locations or other
places over which they maintain dominion and control large quantities of
United States currency, financial instruments precious metals jewelry, and
other items of value. The United States currency are typically drug proceeds
while drug traffickers typically use such proceeds to purchase financial
instruments precious metals jewelry, and other items of value.

e. Maintain addresses telephone numbers and books or papers that reflect
names addresses and/or telephone numbers for their associates in their
illegal organization. Drug traffickers often use cellular telephones to
maintain their co-conspirators names and contact information These
telephone records bills and pager numbers are often found in their
residence, or the residence of their friends family members and associates
or their drug distribution locations

f. Take, or cause to be taken, photos of themselves their associates their
property, and illegal contrabandl Drug traffickers usually maintain these
photos in their residence, vehicles or electronic devices or on their person.

g. Indicia of occupancy, residency and/or ownership of the property to be
searched are often present in such property.

Basis of Information
l(). The facts set forth in this Affid_avit are based upon (a) your Affiant’s personal
knowledge; (b) review of evidence developed through surveillance and obtained from this
investigation; (c) communications with others who have personal knowledge of the events and
circumstances described herein, as well as (e) information that your Affiant gained through
training and experience Because your Affiant submits this Affidavit for the limited purpose of
establishing probable cause for the requested complaint and warrants he has not included every

detail of this investigation Instead, your Affiant has included in this Affidavit only those facts

that are sufficient to support a probable cause finding for the issuance of the requested complaint

and warrants

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Case 1:_19-mj-00910-ADC Document=3 Filed 04/02/19 Page 5 of 14

Probable Cause

ll. _In October 2017, the DEA and the CCSO DEU began investigating heroin
traffickers operating in the Anne Arundel County area. Among the targets of this investigation is
BRUCE.

12. The intercepted calls and texts occurring over the cellular telephone assigned call
number (410) 212-8980 with Intemational Mobile Subscriber Identity (“IMSI”)
310120153606409, subscribed to John Wright, the subscriber address of 2406 Autumn Harvest
Court Odenton, Maryland 21113, land used by BRUCE, whose service provider is Sprint
Corporation (“SPRINT”) (hereinafter referred to as “Target Telephone 1”) and the cellular
telephone number (443) 804-0072 with IMSI 310120227102162, subscribed to no name listed, the
subscriber address is not listed, and used by BROWN, whose service provider is SPRINT
(hereinafter referred to as “Target Telephone 2”) confirmed that BRUCE is a significant drug
distributor who is supplied, in part, by BROWN.

13. Some of the pertinent intercepted conversations and surveillance in connection with
those conversations show that probable cause exists to believe that BRUCE used the SUBJECT
VEHICLE in furtherance of drug trafficking crimes are summarized as follows: l

a. On February 23, 2019, at approximately 4:32 p.m., BRUCE, via Target
Telephone 1, placed dan outgoing call to BROWN, via Target Telephone 2. Here is their

conversation:

BRUCE: Hello. BROWN: Yeah, game over? BRUCE: Not
yet, not yet, it’s like, l think it’s the fourth quarter. BROWN:
Huh? BRUCE: We in the fourth, we in the fourth quarter, it
ain’t over yet, Ima call you once it’s over. BROWN: Ok, well
I’m leavin now so what do you want me to do? BRUCE:
Alright 20 Amberstone Court initial J. BROWN: Yeah, what
you say, wait a minute, let me, let me pull over. Alright let me
get out here and then pull over to the side. BRUCE: Good

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Case 1:19-mj-00910-ADC Document 3 Filed 04/02/19 Page 6 of 14

shot. BROWN: Ok you say 20 Amberstone Court? BRUCE:
Amberstone Court yeah. BROWN: Yeah 20 Am, Arnberstone
Court. BRUCE: Yeah. BROWN: Uh Annapolis Maryland.
BRUCE: Yep. BROWN: Ok, is that, is is Amberstone one
Word or two words? BRUCE: One word. BROWN: Ok that’s
one word um. BRUCE: Yeah. BROWN: Amberstone Court.
BRUCE: Yeah. BROWN: Ok let me put, let me, I’m gettin
ready to pull over to the side and put it in my GPS, so you just
want me to head on down? BRUCE: Yeah just head on down.
BROWN: Ok l been tryin to call Nadia, but she ain’t answer.
BRUCE: Nah, she just came and showed me that you was
callin and I looked at my phone and seen that you called and-
then l called you right back. BROWN: Yeah l was callin
Nadia and she never answered BRUCE: You know what call
her phone, cuz she prolly, and make sure, make, hold on Ima,
hold on I’m ready to text her, hold on (U/i). BROWN: Ok lma
still put the address in. BRUCE: Yeah l’m ready, I’m ready
to get, l’m ready. (BRUCE is talking to Nadia TUCKER in
the background: Hey whats the address TUCKER: 20
Amberstone Court. BRUCE: Alright.) Yeah 20 Amberstone
Court that’s right, that’s what l just said. BROWN: Where
Nadia at, she with you? BRUCE: Yeah. BROWN: Yeah tell
her I been callin her, she ain’t answer the phone. BRUCE: l
know she just answered, she just told me to call you.
BROWN: Oh, ok. BRUCE: When you was callin her.
BROWN: 20 Amberstone Court, Annapolis Maryland.
BRUCE: Yeah, yeah. BROWN: (BROWN’s GPS is going
off in the background and says here’s a map 20 Amberstone
Court, Annapolis Maryland and starts giving directions.) Ok.
BRUCE: Alright. BROWN: Ok, alright, right, right, right.

Based on investigators training, knowledge, and experience, they know that large scale narcotics
dealers (l) commonly do not discuss their narcotics business over the phone; and (2) if they have
ongoing relationship with each other, large scale narcotics dealers need not disclose the amount of
narcotics or money in exchange for those narcotics as both parties rely on their past dealings
_ Based on investigators’ training, knowledge, and experience, they believed that BROWN and
BRUCE were using coded, vague language to (l) confirm their meeting during which BRUCE
would purchase heroin from BROWN, although neither BROWN nor BRUCE mentioned the

amount of heroin or money; and (2) firm up the location for the drug transaction, specifically

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Case 1:19-mj-00910-ADC Document 3 Filed 04/02/19 Page 7 of 14

'_I`arget Location 1. Indeed, investigators observed BROWN driving ma 2011 silver I-Ionda
Crosstour registered to Larry Michael Brown at 5531 Bosworth Avenue, Gwynn Oak, Maryland,
21207 (hereinafter referred to as “BROWN’s Vehicle”) onto Amberstone Court and parking
BROWN’s Vehicle in the lot facing 20 Amberstone Court Unit J, Annapolis, Maryland 21403
(hereinaf`ter referred to as “Target Location 1’5) at approximately 5:16 p.m.; BRUCE driving the
SUBJECT VEHICLE and parking it in front of Target Location 1 shortly after; and BRUCE
entering BROWN’s Vehicle seconds later. Based on investigators’ training, knowledge, and

experience, they (l) know that BROWN and BRUCE commonly met in one of their vehicles to

discuss and/or conduct hand-to-hand narcotics transactions and (2) believe that BRUCE purchased '

heroin from BROWN during their meeting.
b. On February 26, 2019, at approximately 5: 10 pm, BROWN, via Target
Telephone 2, placed an outgoing call to BRUCE, via Target Telephone ].. Here is their

conversation:

BRUCE: What’s going on? BROWN: Hey, uh, what’s your
location? BRUCE: I’m in the, I’m in the house. BROWN:
Alright, you in the house? BRUCE: Yeah. BROWN: Uh, OK.
Yeah, uh, l need the, 1 need to like uh, you know, get up with
you. BRUCE: Oh yeah. BROWN: Yeah, like you know, the
Gooseman, the old Gooseman around. BRUCE: Oh yeah.
BROWN: Yeah, the Gooseman. (Laughs). BRUCE: Damn.
BROWN: I really, like you know, and plus that other demo
you was talking about to. So I, you know l just wanted to, like
touch bases with you real quick. You know what l mean?
BRUCE: Yeah. Damn, uh, l need to run up to you man, l
don’t know, l just got off at seven. I worked till motherfuckin’
five. BROWN: No, no, no, that’s fine, no, I’m just saying,
you, you can tell me, uh, we can go after the traffic that’s fine,
you can tell me eight, you can tell me nine, it, it does not
matter. BRUCE: Yeah, yeah I’ll run up to you after the traffic.
BROWN: OK, so what you want to go with like eight, you
want to go with eight or nine? You, you just tell me nephew.
BRUCE: Like around eight. Around, around, around like
eight, around eight, I’ll say eight. BROWN: OK, yeah eight

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Case 1:19-mj-00910-ADC Document 3 Filed 04/02/19 Page 8 of 14

is good So, uh, where you want to swing by? You, you want
to go with uh, you want to go With T-Mobile or, or do you
need me to come a little further. BRUCE: Probably need you
to come a little, probably need you to come to the big store.
BROWN: Huh? BRUCE: Probably need you to come to the
big store. BROWN: OK, you talking about your big store.
BRUCE: Yeah, my big store. BROWN: That’s fine. OK, l’ll
tell you what, uh, like, I can see you like, at your big store to.
Now, uh, now what about the classic, you want (UI) hold on,
hold on on the classic or, and, and See where you at with uh,
you know with the small, you know that l catch you with or
what. BRUCE: Yeah, I want, yeah, I want to see Where l’m
with that, yeah. BROWN: OK, then I’ll just hold up on, you
know, the classics l still got those classic uh jersey’s too.
BRUCE: Yeah. BROWN: Right, l’ll see you then; right, I’ll
see you at eight. Uh, at uh, what about that Chick-fil-A?
BRUCE: Alright, bet, no problem, good deal. BROWN:
Yeah, Chick-Fil-A at eight. BRUCE: Alright. BROWN:
Alright, see you.

Based on investigators’ training, knowledge, and experience, they believe that, in a vague, coded
language, BROWN and BRUCE (1) arranged a drug deal during which BROWN would sell
BRUCE heroin in exchange for money when BROWN said “l need to like uh, get up with you”
to BRUCE; (2) discussed a new batch of heroin that BRUCE and BROWN previously discussed
for BRUCE’s customers to try when BROWN said “plus that demo you was talkin about”; (3)
talked about the heroin that BROWN usually supplies to BRUCE, when BROWN referred to
“the classic;” and (4) agreed to meet at Chick-Fil-A located at 7831 Quarterfield Park Drive,
Severn, Maryland 21144, which is across the street from the AT&T store located 404 George
Clauss Boulevard Severn, Maryland 21 144, to conduct the drug transaction. Indeed, the data from
the tracking device on BROWN’s Vehicle that Honorable Stephanie A. Gallagher authorized on
January 16, 2019 shows that BROWN’s Vehicle traveled directly from Target Location 2 to the
initially agreed-upon location at which BROWN and BRUCE conducted that drug transaction.

Additionally, on the same day, law enforcement observed (1) BRUCE arrive in the SUBJECT

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Case 1:19-mj-00910-ADC Document 3 Filed 04/02/19 Page 9 of 14 '

VEHICLE at the AT&T store at approximately 8:17 p.m.; (2) BROWN arrive in BROWN’s
Vehicle there at approximately 3:19 p.m.; (3) BRUCE and BROWN enter the SUBJECT
VEHICLE at approximately 8:22 p.m. ; (4) BROWN, appearing to have an object under his jacket,
exit the SUB.]ECT VEHICLE and enter his BROWN’s Vehicle at approximately 8:34 p.m., and
(5) BRUCE in the SiJBJECT VEHICLE and BROWN in BROWN’s Vehicle depart that area
at approximately 8:35 p.m. Based on investigators’ training, knowledge, and experience, they
believe that BRUCE purchased heroin from BROWN in exchange for money inside of the
sUBJECT vEHICLE. n
c. On February 27, 2019, at approximately 5:12 pm., BROWN, via Target

Telephone 2, placed an outgoing call to BRUCE, via Target Telephone 1. Here is their
conversation:

BRUCE: I’m waiting, l’m waiting on that reading right now.

BROWN: OK. Uh, don’t forget to send me the readings

(Pause).....OK. BRUCE: Yep. l won’t, l won’t forget. OK,

alright. OK, later.

Based on investigators’ training, knowledge, and experience, they know that heroin dealers
use (1) the street terms (a) “demo” to refer to a new heroin batch and (b) “testers” to refer to new
heroin given to customers to test the quality; (2) commonly obtain different types of heroin; and
(3) send “testers” of a new heroin batch to their customers and wait for their customers to provide
feedback about the quality of that. heroin. Based on investigators training, knowledge, and
experience, they believe that, in code, vague language, BROWN followed up with BRUCE about
the heroin that BRUCE obtained from BROWN the day before; and BRUCE indicated that he
was still waiting for his customers to let him know about the quality of that new batch of heroin

and assured BROWN that he would relay his customers’ feedback about that heroin’s quality to

BROWN.

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Case 1:19-mj-00910-ADC Document 3 Filed 04/02/19 Page 10 of 14

14. On March 14, 2019, Honorable Stephanie A. Gallagher signed, inter alia, the
Criminal Complaint and arrest warrant for BRUCE, charging him With conspiracy to distribute
and possess with the intent to distribute a controlled dangerous substance, in violation of 21 U.S.C.
846; possession with intent to distribute a controlled dangerous substance, in violation of 21 U.S.C.
841(a)(1); and use of communication facilities to facilitate the commission of such offenses in
violation of 21 U.S.C. 843(b).

15. On March 15, 2019, at approximately 6:30 a.m. investigators conducted
surveillance of the SUBJECT VEHICLE that was parked at the Why Hotel located at 225 N.
Calvert Street, Baltimore, Maryland 21202. They observed BRUCE walk towards and unlock the
SUBJECT VEHICLE as well as attempt to enter the driver’s side door. Law enforcement then
arrested BRUCE`.

16. During a search incident to arrest, law enforcement recovered, inter alia, two
cellular telephones from BRUCE’s right front pocket, approximately $6,000 in cash, and
suspected heroin and cocaine in a plastic knotted bag. l

17. Law enforcement transported the SUBJECT VEHICLE to a secure location
pending this request for a search warrant d

18. On the same day, investigators requested the Prince George’s County Police
Department canine support for a fresh air scan of the SUBJECT VEHICLE to determine whether
there was probable cause that the SUBJECT i/'EHICLE contained narcotics The Prince
George’s County Police Department canine, Spike,l scanned the exterior of the SUBJECT

VEHICLE. At approximately 8:30 a.m., Spike positively alerted to the presence of narcoticssin

 

1 “Spike” was certified in April 2018 to alert on odors of cocaine, crack cocaine, heroin, 7

methamphetamine, and ecstasy and is trained once a month to ensure his accuracy. Prince
George’s County Police Department Corporal Jarnes Kelly is Spike’s handler.

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Case 1:19-mj-00910-ADC Document 3 Filed 04/02/19 Page 11 of 14

the SUBJECT VEHICLE. 1 9 _ 0 9 1 0 ADC
Conclusion

19. Based on the information set forth in this Affidavit, your Affiant submits that
probable cause exists to blelieve that (a) BRUCE has used the SUBJECT VEHICLE in
furtherance of drug trafficking activities in violation of 21 U.S.C. §§ 841(a)(1), 843(b), and 846;
and (b) the SUBJECT VEHICLE contains evidence, fruits and instrumentalities of drug
trafficking activities

20. Accordingly, your Affiant requests that this Court issue a search and seizure
warrant authorizing the search of the SUBJECT VEHICLE, as fully described in iattachment A,

for the items listed in Attachment B, which constitute evidence, fruits and instrumentalities of

drug trafficking activities in violation of 21 U.S.C. §§ 841(a)(1), 843(b), and 846, and the seizure

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J ames D. orton 1
Task For e Officer
Drug Enforcement Administration

of the items listed in Attachment B.

Subscribed and sworn before me this Amay/of March, 2019.

 

Honorable A.
United States Magistrate Judge

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ease 1:19-mj-00910-ADC Documem 3 Filed 04/02/19 Page 12 of 14 ’SllSII/‘l

19"0910 ADC

Attachment A: SUBJECT VEHICLE
The property to be searched is described as follows: the black, four-door 2019 Volvo SUV
bearing Maryland license plate number 6DG2921 registered to PV Holding Corporation located at

7432 New Ridge Road, Hanover, Maryland 21076 (“SUBJECT VEHICLE”).

Case 1:19-mj-00910-ADC Document 3 Filed 04/02/19 Page 13 of 14

19-0910 ADC

Attach;nent B: Itenls to be Seized From the SUBJECT VEHICLE
This warrant authorizes the search and seizure of all records and items relating to violations
of 21 U.S.C. §§ 841 (a)(l), 843(b), 846, by Watson Patrick Bruce afk/a Tree and his known and
unknown co-conspirators including, but not limited to, the following:
1. Controlled substances
2. Drug paraphemalia, including, but not limited to,_ scales plastic bags drug
wrappers chemical test kits metal pressing devices used for compressing cocaine, heroin, and

other controlled substances

3. Documents books and papers reflecting names addresses and/or telephone
numbers of co-conspirators, customers and suppliers

4. Photographs in particular, photographs of co-conspirators controlled substances

sums of money, vehicles jewelry, and!or assets

5. Books records receipts notes ledgers diaries journals designated codes and
other papers relating to the purchase, importation, transportation, manufacture, sale, and
distribution of controlled substances -

6. Currency, bank statements and records other financial statements money drafts
letters of credit, money orders and cashier checks passbooks, bank checks credit card statements
employment or payment records loan applications and records real estate records real estate
rental agreements property deeds vehicle titles money wires and transfers stocks bonds
precious metals jewelry, and any other items evidencing the obtaining, secreting, transfer, and
concealment of assets and expenditure of money.

7. Indicia of occupancy and ownership of the SUBJECT VEHICLE, including but
not limited to, correspondence and photographs

8. Identification documents

9. Safe deposit box keys safe deposit box documents storage unit documents safe
combinations storage unit keys records and agreements for payment, and other documents and
items evidencing the obtaining, secreting, holding, transfer, and/or concealment of controlled

substances

10. Cellular telephones pagers beepers or other electronic communications devices

11. Documents or other records relating to court proceedings involving other co-
conspirators including, but not limited to, charging documents and bail records

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Case 1:19-mj-00910-ADC Document 3 Filed 04/02/19 Page 14 of 14

19-0910 ADC

12. Records of travel including, but-not limited to, tickets boarding passes
transportation schedules passports visas notes motel and hotel receipts and other receipts related
to travel.

13. Locked or closed containers boxes,_receptacles that contain any of the items listed
in Nos. 1 _ 12 of this attachment

14. Locked or unlocked safes boxes suitcases cabinets or other secure storage
containers (and law enforcement officers may drill the same).

As used above, the terms “records” and “information” includes all forms of creation`or
storage, including any form of computer or electronic storage (e.g., hard disks or other media that
can store data); any handmade form (e.g., writing); any mechanical form (e. g., printing or typing);
and any photographic form (e.g., microfilm, microfiche, prints slides negatives videotapes
motion pictures or photocopies).

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